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                        Exhibit C

       REDACTED VERSION OF
      DOCUMENT SOUGHT TO BE
             SEALED




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     From:            Carson Oliver (carson_oliver@apple.com)
     To:              Adrian Ong (adrian.ong@match.com)
     CC:
     BCC:
     Subject:         Re: Follow up
     Attachments:
     Sent:            01/26/2019 05:09:08 AM 0000 (GMT)

     Hey Adrian,

     Agree with you that we should find another time to talk next week. Are you free at 3pm PT on Tuesday or 12:30pm PT on
     Wednesday?

     Carson

     On Jan 24, 2019, at 1:42 PM, Adrian Ong < Adrian.Ong@match.com > wrote:


       Hey Carson

       We’ve got a call scheduled on Tuesday at noon with Michael and Tom but not sure that’s the best audience for a rev share
       discussion.

       Also just to prep you for Tuesday, I’ve got two new issues that have been brought to my attention:

       1. Tinder app being rejected for asking users who signed up using Facebook for phone numbers (this is the new primary
       auth method): an appeal (that contains our reasoning) has been submitted 2 weeks ago but the Tinder team has not heard
       back

       2. We launched a new app called Ablo that allows users around the world to talk to other users in any language. It was
       rejected for 2 reasons:
       i) Asking for phone number and email on sign up
       ii) Asking for gender cannot be required (I believe bc default search results were not gender specific - however there’s an
       option to filter by gender ... which won’t work if we don’t have gender)

       Let me know if we should setup a separate time to discuss the rev share topic. I’m actually quite open on Tuesday so we
       can do it anytime before or after our 12pm meeting.

       Thanks
       -AO

       On Jan 24, 2019, at 3:30 PM, Carson Oliver < carson_oliver@apple.com > wrote:


         Hi Adrian,

         Nice to hear from you. I’m traveling this week but we should find time to talk about this topic early next week.

         Please let me know what times work best for you.

         Thanks,
         Carson


              On Jan 24, 2019, at 10:41 AM, Adrian Ong < Adrian.Ong@match.com > wrote:




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          Hi Carson,

          I’d like to pick up on the below thread I had opened up with Sheree – speciﬁcally on rev share.

          In the last couple of weeks, it has come to my a en on that Ne lix and Apple had an agreed upon rev share deal at
          15% (but obviously they’re no longer using in-app billing for new customers – an interes ng approach that more of us
          are pondering for our strongest brands). Can you conﬁrm if this is true? The main point and why we feel strongly
          about discussing rev share is that we’re driving almost 100% of the revenue growth for you and that we’re episodic
          and therefore never truly beneﬁt from the 15% terms for subscribers > 1 year (vs companies like Ne lix that were
          probably achieving roughly an 18% rev share assuming the 30% based on avg customer reten on).

          I think this would also go a long way to alleviate the revenue impact from the rate card issue and make it less of an
          issue for our execu ve team.

          Thanks
          -AO

          From: Adrian Ong
          Sent: Thursday, June 7, 2018 6:11 PM
          To: 'shereechang@apple.com' <shereechang@apple.com>
          Subject: Follow up

          Hi Sheree

          Pleasure to meet you and the team in Cuper no and my team looks forward to working with you all.

          I wanted to follow up on several topics that we touched on during our mee ng / dinner:

              ·    IAP reconcilia on
                      o We need to ensure we have a way to reconcile the transac ons we see our end and payments you
                          make to us
                      o As discussed, our ﬁgures from Apple for just our Tinder business can be oﬀ as much as ~$1M at any
                            me during the year which is a concern
                      o According to Erin, this is brought up frequently by other partners
                      o Can we iden fy next steps and dates to ensure we are seeing trac on on this? FYI We do not have this
                          issue on Android
              ·    Rev share
                      o As discussed over dinner and per our presenta on, we drove              in rev share revenue for Apple,
                          up                      and we expect to con nue our solid growth
                              § Apple drove minimal new discovery (       ) while the majority were users organically looking for
                                  our apps         )
                              § Our new product features such as Tinder Gold drove subscriber growth resul ng in the app
                                  shoo ng up the top grossing charts to #1 outside of games last year
                              § Therefore, while we understand the value of the pla orm historically, we are the ones driving
                                  the YoY growth and incremental value add - not Apple (i.e. this wasn’t from increased phone
                                  sales or features you oﬀered) while your pla orm reaps the beneﬁt. This feels somewhat
                                  one-sided.
                      o Da ng as a category is episodic
                              § The average subscriber stays only 4-5 months
                              § As a top grossing partner, we never are able to take advantage of the 15% rev share since the




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                                  intent of our apps is to actually have people meet and leave our apps
                              § Other top grossing partners such as our colleagues at Ne lix have an average subscriber length
                                  of 43 months, which means their average rev share works out to be approximately 18% -
                                  much closer to the 15% than the 30% commissions we pay
                     o Channel op miza on
                              § Historically, Tinder grew up as an app ﬁrst business and never had their own payment system.
                                  Therefore, they had no choice but to u lize IAP on both IOS and Android. Late last year,
                                  Tinder launched an interna onal web product and its own payment system.
                              § None of the Match Group brands u lize IAP on Android except for Tinder – however this is
                                  likely to change
                              § Therefore looking forward at channels, user acquisi on and conversion – Apple becomes the
                                  only business that charges 30% and the least a rac ve since 30% ROI just to break-even is a
                                  high hurdle to cross (either from a conversion and/or reten on perspec ve) rela ve to our
                                  other pla orm op ons. In the spirit of a true and eﬀec ve partnership, we should be
                                  u lizing your pla orm and driving growth based purely on its eﬀec veness – rather than
                                  because we have to and/or looking at other channels due to your legacy rules around the
                                  30% and ROI impact. All of this would lead to more app downloads and growth.
                              § Being in the payments space for a very long me, we also know that the 30% rate is arbitrary
                                  since i) we know that other categories are not forced to use IAP and ii) the cost of accep ng
                                  payments is only <2-5%
                     o I don’t know if you’ve already discussed the above with Ma per our discussion at dinner, but I’d like
                         to get the dialogue going about poten ally modifying our rev share given that we’re a top grossing
                         partner and especially because of the episodic nature of our business. I’d like to propose that the
                         da ng category and/or other similar episodic categories are either a) included in the exclusion list
                         (since our subscribers are with us for such a short period of me + this may be easier since an
                         exclusion list already exists for physical goods, etc) or b) we deﬁne a separate category for da ng that
                         is able to take advantage of the 15% immediately due to the short term and episodic nature of our
                         businesses
              ·   2-factor Authen ca on (new topic)
                     o Does Apple have a solu on for 2-factor authen ca on for its apps? We’re looking at introducing this
                         func onality for several of our brands.
                     o I spoke to an old colleague who now works at Hilton and they informed me about Business Chat via
                         Messages. Is it possible and/or do some apps use Business Chat for 2FA or do you have an alterna ve
                         solu on? The other op on is obviously to engage a third party like a Nexmo or Twilio.

          I look forward to collabora ng with you and the team on this partnership and these are the large cket items on the
          top of my mind right now. As I men oned during our mee ng, we could have an extremely beneﬁcial rela onship
          where we share best prac ces and work together to drive growth for both our businesses. I believe we can provide a
          lot of value given that we’ve been running subscrip on / recurring / auto-renewal businesses for longer than almost
          any digital goods + services business out there today and so whether it’s around payment / conversion op miza on
          to reten on to auto-renewal best prac ces, we can assist.

          Look forward to hearing from you and I propose we get something on the calendar to touch base at least once a
          month.

          Best,
          -AO

          Adrian Ong
          SVP, Opera ons
          match group




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